Exhibit 1
                   UNITED STATES DISTRICT COURT FOR
                    THE DISTRICT OF MASSACHUSETTS




ESTADOS UNIDOS MEXICANOS,

                       Plaintiff,

vs.


SMITH & WESSON BRANDS, INC.; BARRETT     Case No.: 1:21-cv-11269
FIREARMS MANUFACTURING, INC.; BERETTA
U.S.A. CORP.; CENTURY INTERNATIONAL
ARMS, INC.; COLT’S MANUFACTURING
COMPANY LLC; GLOCK, INC.; STURM, RUGER
& CO., INC.; WITMER PUBLIC SAFETY GROUP,
INC. D/B/A INTERSTATE ARMS,

                       Defendants.




                          EXPERT REPORT

                                     OF

                           LUCY P. ALLEN


                              January 31, 2022




                                                                   1
I.        SCOPE OF ASSIGNMENT

          1.       I have been asked by counsel for Plaintiff Estados Unidos Mexicanos (the
“Mexican Government”) to estimate the number of firearms trafficked into Mexico over the last
ten years with a sale linked to Massachusetts that were manufactured by each of the Defendants
by extrapolating from limited available data. In particular, since more recent and/or relevant data
sources were unavailable at this time, I was asked to extrapolate from the following data sources
(the “Specified Data Sources”):

          1) Data by manufacturer on firearms recovered in Mexico from the Fiscalía General de
               la República from 2010 to 2019 (“FGR Recovery Data”) and from the Secretaria de la
               Defensa Nacional from 2010 to 2021 (“SEDENA Recovery Data”). It is my
               understanding that the FGR Recovery Data and SEDENA Recovery Data were
               obtained by John Lindsay-Poland, the Coordinator of Stop US Arms to Mexico, a
               project of Global Exchange, through requests under Mexico’s Federal Transparency
               and Information Access Law (“Ley Federal de Transparencia y Acceso a la
               Informacion”).

          2) Data on traces of firearms recovered in Mexico from the Bureau of Alcohol,
               Tobacco, Firearms and Explosives (“ATF”) from 1992 to 2001 (“Early ATF Mexico
               Trace Data”).

          2.       The Defendants consist of seven firearm manufacturers (the “Manufacturer
Defendants”) and one firearm wholesaler Witmer Public Safety Group, Inc., which acquired
Massachusetts-based Interstate Arms Corp. in 2019 (“Interstate Arms”).1 The Manufacturer
Defendants are:

          1) Barrett Firearms Manufacturing, Inc. (“Barrett”),

          2) Beretta U.S.A. Corp. (“Beretta”),

          3) Century International Arms, Inc. (“Century Arms”),




1
     Complaint, ¶1. See, “History,” Witmer Public Safety Group Website, available at https://wpsginc.com/history/ ,
     accessed on January 30, 2022, which states that “In January 2019, WPSG acquired Interstate Arms, a wholesale
     firearms, accessories, and ammo distributor located in Billerica, MA.”


                                                                                                                  2
         4) Colt’s Manufacturing Company LLC (“Colt”),

         5) Glock, Inc. (“Glock”),

         6) Smith & Wesson Brands, Inc. (“Smith & Wesson”), and

         7) Sturm, Ruger & Co., Inc. (“Ruger”).

         3.      Defendants Smith & Wesson and Interstate Arms are both based in
Massachusetts.2



II.      QUALIFICATIONS AND REMUNERATION

         4.      I am a Managing Director of NERA Economic Consulting (“NERA”), a member
of NERA’s Securities and Finance Practice and NERA’s Product Liability and Mass Torts
Practice. NERA provides practical economic advice related to highly complex business and legal
issues arising from competition, regulation, public policy, strategy, finance, and litigation.
NERA was established in 1961 and now employs approximately 500 people in more than 20
offices worldwide.

         5.      In my over 20 years at NERA, I have been engaged as an economic consultant or
expert witness in numerous projects involving economic and statistical analysis. I have been
qualified as an expert and testified in court on various economic and statistical issues relating to
firearms, including the flow of firearms into the criminal market and analyses of data on firearm
traces from the ATF. I have testified on these topics at trials in Federal District Court, including
in NAACP v. American Arms, Inc., et al. and Freddie Hamilton, et al. v. Accu-Tek, et al., and
before the New York City Council Public Safety Committee.

         6.      I have an A.B. from Stanford University, an M.B.A. from Yale University, and
M.A. and M. Phil. degrees in Economics, also from Yale University. Prior to joining NERA, I
was an Economist for both President George H. W. Bush’s and President Bill Clinton’s Council


2
    See, Smith & Wesson 2020 Form 10-K, dated June 19, 2020, p. 1, which states that Smith & Wesson “[maintains
    its] principal executive offices at 2100 Roosevelt Avenue, Springfield, Massachusetts,” and “About Us,”
    Interstate Arms Website, available at https://www.interstatearms.com/page.aspx/contentId/528/About-Us/ ,
    accessed on January 25, 2022, which lists Interstate Arms’ address as 6 G Dunham Road, Billerica,
    Massachusetts, 01821.


                                                                                                             3
of Economic Advisers. My resume with recent publications and testifying experience is included
as Appendix A.

         7.      NERA is being compensated for time spent by me and my team at standard billing
rates and for out-of-pocket expenses at cost. NERA currently bills for my time at $1,050 per
hour. NERA’s fees are not in any way contingent upon the outcome of this matter.



III.     MATERIALS CONSIDERED

         8.      In preparing this report, I considered the following materials:

         a)      Complaint, filed August 4, 2021 (“Complaint”);

         b)      Bureau of Alcohol, Tobacco, Firearms and Explosives trace and recovery data for
                 firearms recovered in Mexico from 1989 to 2001 (“Early ATF Mexico Trace
                 Data”);

         c)      Fiscalía General de la República data for firearms recovered in Mexico from 2010
                 to 2019 (“FGR Recovery Data”);

         d)      Secretaria de la Defensa Nacional data for firearms recovered in Mexico from
                 2010 to 2021 (“SEDENA Recovery Data”);

         e)      FBI data on firearm background checks by state conducted through the National
                 Instant Criminal Background Check System (“NICS Data”); 3

         f)      Select academic literature and news stories on firearms trafficking from the U.S.
                 to Mexico; and

         g)      Select websites and SEC filings of Defendants and Massachusetts-based firearm
                 distributors.




3
    NICS Data was downloaded on January 17, 2022, available on https://www.fbi.gov/file-
    repository/nics_firearm_checks_-_month_year_by_state.pdf/view.


                                                                                                     4
IV.      ANALYSIS

         9.       We extrapolated from the Specified Data Sources to estimate the number of
firearms trafficked into Mexico over the last ten years with a sale linked to Massachusetts that
were produced by each of the Manufacturer Defendants by using the following inputs:

         1) Estimate of the number of firearms trafficked annually from the U.S. into Mexico;

         2) Estimate of the share of firearms recovered in Mexico that were produced by each of
               the Manufacturer Defendants; and

         3) Estimate of the share of firearms recovered in Mexico that had a sale linked to
               Massachusetts.



Number of firearms trafficked from the U.S. into Mexico

         10.      A February 2021 U.S. General Accounting Office Report refers to 200,000 per
year as “the best estimate available” of the number of firearms trafficked from the U.S. to
Mexico.4 The Brookings Institution, as part of its Partnership for the Americas Commission,
estimated a substantially higher number. In particular, the Brookings Institution estimated that
2,000 firearms a day, or 730,000 firearms a year, are trafficked from the U.S. to Mexico. 5

         11.      I have not undertaken an independent study to determine which of these estimates
(or any other one) is likely more accurate. Although I reserve the right to conduct such an
analysis later in this litigation, for the purposes of this report, I show the results using both
estimates.



Manufacturer Defendants’ share of firearms recovered in Mexico

         12.      To calculate the share of firearms recovered in Mexico that were produced by
each of the Manufacturer Defendants, we used data by manufacturer on firearms recovered in



4
    “Firearms Trafficking: U.S. Efforts to Disrupt Gun Smuggling into Mexico Would Benefit from Additional Data
    and Analysis,” United States Government Accountability Office, February 22, 2021, p. 1.
5
    “Rethinking U.S.-Latin American Relations,” The Brookings Institution, November 2008, p. 24.


                                                                                                              5
Mexico from 2011 to 2020, combining the FGR Recovery Data and the SEDENA Recovery
Data.6 As an alternative we calculated the share by Manufacturer Defendant using each data set
individually and obtained similar results.

               13.        The table below shows the percent of firearms recovered in Mexico based on this
data that were produced by each of the Manufacturer Defendants over the ten-year period from
2011 to 2020.

                                                  Percent of Firearms Recovered in Mexico
                                                       By Manufacturer Defendants
                                                                                                              3-Year      5-Year      10-Year
                                                                                                              Period       Period      Period
         Manufacturer     2011    2012    2013     2014    2015    2016     2017    2018     2019     2020   2018-2020   2016-2020   2011-2020


    1.   Barrett           0.1%    0.2%    0.2%     0.4%    0.5%    0.5%     0.7%    1.2%     1.8%    3.0%      1.8%        1.2%        0.4%
    2.   Beretta           3.3%    3.1%    4.8%     4.1%    5.0%    5.2%     6.7%    6.1%     5.2%    4.9%      5.5%        5.8%        4.2%
    3.   Century Arms      4.4%    4.6%    5.1%     3.2%    3.5%    2.2%     2.0%    3.9%     4.1%    8.5%      5.0%        3.5%        4.1%
    4.   Colt             12.2%   13.4%   15.1%    24.3%   13.7%   12.7%    15.3%   12.8%    10.6%   10.6%     11.6%       12.9%       14.3%
    5.   Glock             0.9%    1.1%    1.4%     2.0%    2.3%    2.5%     3.4%    4.2%     6.1%    8.0%      5.7%        4.3%        2.0%
    6.   Ruger             4.6%    4.4%    3.9%     2.8%    3.5%    3.5%     3.0%    3.8%     4.1%    5.3%      4.2%        3.7%        4.0%
    7.   Smith & Wesson    6.3%    6.0%    7.2%     6.9%    7.7%    8.5%     9.2%    9.5%    11.0%   10.9%     10.3%        9.6%        7.2%
         Defendants       31.6%   32.8%   37.7%    43.7%   36.2%   35.0%   40.2%    41.5%   42.9%    51.2%     44.1%      40.9%       36.2%

    Notes and Sources:
      Data from SEDENA Recovery Data and FGR Recovery Data. Firearms without a listed manufacturer were excluded.



               14.        As can be seen in the table, the Manufacturer Defendants’ share of the firearms
recovered in Mexico generally increased over time. The Manufacturer Defendants accounted for
36.2% of firearms recovered over the last ten years, while for the more recent three-year and
five-year periods their share went up to 44.1% and 40.9%, respectively.



Share of firearms recovered in Mexico that were traced back to Massachusetts

               15.        The Early ATF Mexico Trace Data contains information for firearms recovered in
Mexico that were traced from 1992 to 2001. Note that more recent trace data was not available to
me, and that the FGR Recovery Data and SEDENA Recovery Data do not include any tracing




6
         Firearms without a listed manufacturer were excluded from the analysis. Firearms from Century Arms include
         those with Romarm, Cugir or WASR listed as the manufacturer.


                                                                                                                                                 6
information. The Early ATF Mexico Trace Data provides information for each firearm on its
tracing history, including from the records of Federal Firearms Licensees (“FFL”). 7

          16.       Using the Early ATF Mexico Trace Data, we identified firearms with a sale linked
to Massachusetts. In particular, we identified firearms that were either traced to an FFL in
Massachusetts, or to Interstate Arms or Camfour Inc. (“Camfour”), two large distributors based
in Massachusetts.8 The analysis was limited to firearms traced to at least one FFL with a listed
name and state.9

          17.       The analysis separated firearms manufactured by Smith & Wesson, which is
headquartered in Massachusetts and manufactures most of its firearms in Massachusetts, from
firearms by all other manufacturers.10 We found that for Smith & Wesson traced firearms, 24.5%
of the firearms were linked to a sale in Massachusetts and for other traced firearms, 5.7% of
firearms were linked to a sale in Massachusetts.11

          18.       To analyze if there were changes to the share of firearms traced to Massachusetts
since the Early ATF Trace Data, we reviewed data on background checks by state. In particular,
we reviewed data from NICS on the number of background checks that were conducted in
Massachusetts relative to the rest of the U.S. from 1999, the earliest year of data available from
NICS, to 2021. As can be seen in the chart below, over the last 23 years, the number of
background checks conducted in Massachusetts increased elevenfold, from 24,314 in 1999 to
259,248 in 2021, while the number of background checks conducted in the rest of the U.S.
increased only fourfold, from 9,019,433 in 1999 to 38,313,879 in 2021. This review suggests that
Massachusetts’ share of traced firearms has grown since the Early ATF Trace Data and that the


7
     Note that the Early ATF Mexico Trace Data includes firearm recoveries that were not traced, because, for
     example, the firearm serial number and/or the name of the manufacturer was missing.
8
     Includes firearms traced to Camfour’s subsidiary Hill Country Wholesale. According to Camfour’s website,
     Camfour has “its present location in Westfield, MA” and has “consistently [been] ranked as one of the top 10
     distributors in the industry.” See, “About Us,” Camfour Website, available at https://www.ezgun.net/about-us,
     accessed on January 24, 2022.
9
     73% of firearms traced to an FFL were traced to an FFL where the name and state of the FFL was known.
10
     See, Smith & Wesson 2020 Form 10-K, dated June 19, 2020, p. 27, which states that “[Smith & Wesson’s]
     Springfield, Massachusetts facility is critical to [their] success, as [they] currently produce most of [their]
     products at this facility.”
11
     Alternatively, if we remove firearms from non-Defendant manufacturers and focus on the six Manufacturer
     Defendants other than Smith & Wesson, the percent of firearms linked to a sale in Massachusetts is 7.8%, or
     36% higher.


                                                                                                                       7
results in this report would underestimate the number of firearms trafficked into Mexico over the
last ten years that were produced by each of the Manufacturer Defendants and sold in
Massachusetts.

                                                                           Firearm Background Checks in Massachusetts and Rest of the U.S.
                                                                                                   1999 - 2021
                                                                300                                                                              110
  Number of Background Checks in Massachusetts (in thousands)




                                                                                                                                                       Number of Background Checks in Rest of U.S. (in millions)
                                                                                                                                                 100
                                                                250                                                       Massachusetts
                                                                                                                                                 90

                                                                                                                                                 80
                                                                200
                                                                                                                                                 70

                                                                                                                                                 60
                                                                150
                                                                                                                                                 50

                                                                                                                                                 40
                                                                100
                                                                                                                                                 30

                                                                 50                                                                              20
                                                                                                                                All Other U.S.
                                                                                                                                                 10

                                                                  0                                                                              0


 Notes and Source:
 Data from the National Instant Criminal Background Check System, accessed via the FBI. The series "All Other U.S." excludes background
 checks in Massachusetts.




Results

                                                                  19.   We extrapolated from the Specified Data Sources to estimate the number of
firearms by Manufacturer Defendant with a sale linked to Massachusetts that were trafficked into
Mexico over the last ten years. In particular, we applied the two estimates of firearms that are
trafficked annually from the U.S. into Mexico to the share of firearms recovered in Mexico by
each of the Manufacturer Defendants in the past ten years and to the share of firearms that were
recovered in Mexico with a sale linked to Massachusetts from the Early ATF Mexico Trace
Data. The table below shows the results by Manufacturer Defendants from 2011 to 2020.




                                                                                                                                                                                                                   8
                         Estimated Firearms By Defendant
              Trafficked to Mexico and Linked to a Massachusetts Sale
                     Extrapolated from Specified Data Sources
                                    2011 - 2020

                                                                                             2
                                                  And Apply % Firearms Linked to MA
                             % of Firearms Apply to Annual 200K          Or Use Annual 730K
                              Recovered    Trafficked Firearms           Trafficked Firearms
                                        1                      3                            4
     Manufacturer             2011-2020     Over Last 10 Years           Over Last 10 Years
             (1)                   (2)                   (3)                       (4)

    Barrett                        0.4%                    499                     1,822
    Beretta                        4.2%                  4,823                    17,606
    Century Arms                   4.1%                  4,680                    17,083
    Colt                          14.3%                 16,449                    60,039
    Glock                          2.0%                  2,263                     8,259
    Ruger                          4.0%                  4,559                    16,639
    Smith & Wesson                 7.2%                 35,437                   129,346
    All Defendants               36.2%                  68,711                   250,794

 Notes and Sources:
 1
   Data on number of firearms recovered in Mexico from SEDENA Recovery Data and FGR Recovery
   Data.
 2
   Data on number of firearms traced to Massachusetts from Early ATF Mexico Trace Data.
   Firearms linked to Massachusetts include firearms traced to an FFL in Massachusetts or traced to
   Interstate Arms or Camfour.
 3
   Data on number of firearms trafficked from the United States to Mexico from "Firearms Tracking: U.S.
   Efforts to Disrupt Gun Smuggling into Mexico Would Benefit from Additional Data and Analysis,"
   United States Government Accountability Office, February 22, 2021, p. 1.
 4
   Data on number of firearms trafficked from the United States to Mexico from “Rethinking U.S.-Latin
   American Relations," The Brookings Institution, November, 2008, p. 24.



       20.         Note that applying the more recent three-year share of firearms recovered in
Mexico by manufacturer, instead of the ten-year share, yields estimates that are approximately
30% higher, with for example, firearms manufactured by Barret increasing by more than 300%,
firearms by Glock increasing by more than 180%, and firearms manufactured by Colt decreasing
by approximately 20%.


                                                                                                     9
       21.     My work on this engagement is ongoing. I reserve the right to amend and
supplement my opinions based upon discovery, disclosures, and any new or additional
information, documents or materials which might come to light or become available during the
course of this case. As of the time of the filing of this report, more recent and/or relevant data
sources were unavailable to me. It is my understanding that this report is a preliminary analysis
for limited jurisdictional purposes. I expect to obtain more recent and/or relevant data, such as
recent data on the tracing of firearms recovered in Mexico, and data by Defendant on the
manufacturing, distribution and sale of firearms, including breakdowns by the types of firearms
that are most associated with the drug cartels in Mexico.




______________________

       Lucy P. Allen




                                                                                                     10
                                                                Lucy P. Allen
                                                                Managing Director

                                                                NERA Economic Consulting
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                                                                New York, New York 10036
                                                                Tel: +1 212 345 5913 Fax: +1 212 345 4650

Appendix A                                                      lucy.allen@nera.com
                                                                www.nera.com




                                 LUCY P. ALLEN
                               MANAGING DIRECTOR

Education
               YALE UNIVERSITY
               M.Phil., Economics, 1990
               M.A., Economics, 1989
               M.B.A., 1986

               STANFORD UNIVERSITY
               A.B., Human Biology, 1981

Professional Experience
1994-Present          National Economic Research Associates, Inc.
                      Managing Director. Responsible for economic analysis in the areas of
                      securities, finance and environmental and tort economics.
                      Senior Vice President (2003-2016).
                      Vice President (1999-2003).
                      Senior Consultant (1994-1999).

1992-1993             Council of Economic Advisers, Executive Office of the President
                      Staff Economist. Provided economic analysis on regulatory and health
                      care issues to Council Members and interagency groups. Shared
                      responsibility for regulation and health care chapters of the Economic
                      Report of the President, 1993. Working Group member of the President’s
                      National Health Care Reform Task Force.

1986-1988             Ayers, Whitmore & Company (General Management Consultants)
1983-1984             Senior Associate. Formulated marketing, organization, and overall
                      business strategies including:
                      Plan to improve profitability of chemical process equipment manufacturer.
                      Merger analysis and integration plan of two equipment manufacturers.
                      Evaluation of Korean competition to a U.S. manufacturer.
                      Diagnostic survey for auto parts manufacturer on growth obstacles.
                                                                               Lucy P. Allen


                    Marketing plan to increase international market share for major accounting
                    firm.

Summer 1985         WNET/Channel Thirteen, Strategic Planning Department
                    Associate. Assisted in development of company’s first long-term strategic
                    plan. Analyzed relationship between programming and viewer support.

1981-1983           Arthur Andersen & Company
                    Consultant.      Designed, programmed and installed management
                    information systems. Participated in redesign/conversion of New York
                    State’s accounting system. Developed municipal bond fund management
                    system, successfully marketed to brokers. Participated in President’s
                    Private Sector Survey on Cost Control (Grace Commission). Designed
                    customized tracking and accounting system for shipping company.

Teaching
1989- 1992          Teaching Fellow, Yale University
                    Honors Econometrics
                    Intermediate Microeconomics
                    Competitive Strategies
                    Probability and Game Theory
                    Marketing Strategy
                    Economic Analysis


Publications
      “Snapshot of Recent Trends in Asbestos Litigation: 2021 Update,” (co-author), NERA
      Report, 2021.

      “The Short-Term Effect of Goodwill Impairment Announcements on Companies’ Stock
      Prices” (co-author), International Journal of Business, Accounting and Finance,
      Volume 14, Number 2, Fall 2020.

      “Snapshot of Recent Trends in Asbestos Litigation: 2020 Update,” (co-author), NERA
      Report, 2020.

      “Snapshot of Recent Trends in Asbestos Litigation: 2019 Update,” (co-author), NERA
      Report, 2019.

      “Snapshot of Recent Trends in Asbestos Litigation: 2018 Update,” (co-author), NERA
      Report, 2018.

      “Trends and the Economic Effect of Asbestos Bans and Decline in Asbestos
      Consumption and Production Worldwide,” (co-author), International Journal of
      Environmental Research and Public Health, 15(3), 531, 2018.
                                                                         Lucy P. Allen


“Snapshot of Recent Trends in Asbestos Litigation: 2017 Update,” (co-author), NERA
Report, 2017.

“Asbestos: Economic Assessment of Bans and Declining Production and
Consumption,” World Health Organization, 2017.

“Snapshot of Recent Trends in Asbestos Litigation: 2016 Update,” (co-author), NERA
Report, 2016.

“Snapshot of Recent Trends in Asbestos Litigation: 2015 Update,” (co-author), NERA
Report, 2015.

“Snapshot of Recent Trends in Asbestos Litigation: 2014 Update,” (co-author), NERA
Report, 2014.

“Snapshot of Recent Trends in Asbestos Litigation: 2013 Update,” (co-author), NERA
Report, 2013.

“Asbestos Payments per Resolved Claim Increased 75% in the Past Year – Is This
Increase as Dramatic as it Sounds? Snapshot of Recent Trends in Asbestos Litigation:
2012 Update,” (co-author), NERA Report, 2012.

“Snapshot of Recent Trends in Asbestos Litigation: 2011 Update,” (co-author), NERA
White Paper, 2011.

“Snapshot of Recent Trends in Asbestos Litigation: 2010 Update,” (co-author), NERA
White Paper, 2010.

“Settlement Trends and Tactics” presented at Securities Litigation During the Financial
Crisis: Current Development & Strategies, hosted by the New York City Bar, New
York, New York, 2009.

“Snapshot of Recent Trends in Asbestos Litigation,” (co-author), NERA White Paper,
2009.

“China Product Recalls: What’s at Stake and What’s Next,” (co-author), NERA
Working Paper, 2008.

“Forecasting Product Liability by Understanding the Driving Forces,” (co-author), The
International Comparative Legal Guide to Product Liability, 2006.

 “Securities Litigation Reform: Problems and Progress,” Viewpoint, November 1999,
Issue No. 2 (co-authored).

“Trends in Securities Litigation and the Impact of the PSLRA,” Class Actions &
Derivative Suits, American Bar Association Litigation Section, Vol. 9, No. 3, Summer
1999 (co-authored).
                                                                               Lucy P. Allen


     “Random Taxes, Random Claims,” Regulation, Winter 1997, pp. 6-7 (co-authored).



Depositions & Testimony (4 years)
     Deposition Testimony before the Superior Court of New Jersey, Middlesex County, in
     Dana Transport, Inc. et al., vs. PNC Bank et al., 2021.

     Deposition Testimony before the United States District Court, Western District of North
     Carolina, in Cheyenne Jones and Sara J. Gast v. Coca-Cola Consolidated Inc., et al.,
     2021.

     Deposition Testimony before the Superior Court of New Jersey, Hudson County, in
     Oklahoma Firefighters Pension and Retirement System vs. Newell Brands Inc., et al.,
     2021.

     Testimony and Deposition Testimony before the Court of Chancery of the State of
     Delaware in Bardy Diagnostics Inc. v. Hill-Rom, Inc. et al., 2021.

     Deposition Testimony before the Court of Chancery of the State of Delaware in
     Arkansas Teacher Retirement System v. Alon USA Energy, Inc., et al., 2021.

     Deposition Testimony before the United States Bankruptcy Court, Southern District of
     Texas, Houston Division, in Natixis Funding Corporation v. Genon Mid-Atlantic, LLC,
     2021.

     Deposition Testimony before the United States District Court, Southern District of
     California, in James Miller et al. v. Xavier Becerra et al., 2021.

     Deposition Testimony before the United States District Court, Western District of
     Oklahoma, in Kathleen J. Myers v. Administrative Committee, Seventy Seven Energy,
     Inc. Retirement & Savings Plan, et al., 2020.

     Testimony before the United States District Court, Southern District of California, in
     James Miller et al. v. Xavier Becerra et al., 2020.

     Deposition Testimony before the United States District Court, Middle District of
     Tennessee, in Nikki Bollinger Grae v. Corrections Corporation of America, et al., 2020.

     Deposition Testimony before the Supreme Court of the State of New York, County of
     New York, in MUFG Union Bank, N.A. (f/k/a Union Bank, N.A.) v. Axos Bank (f/k/a
     Bank of Internet USA), et al., 2020.

     Deposition Testimony before the United States District Court, Western District of
     Washington at Seattle, in In re Zillow Group, Inc. Securities Litigation, 2020.
                                                                            Lucy P. Allen


Deposition Testimony before the United States District Court, Middle District of
Tennessee, in Zwick Partners LP and Aparna Rao v. Quorum Health Corporation,
2019.

Testimony before the United States District Court, Southern District of Iowa, in
Mahaska Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group, LLC,
2019.

Testimony before the United States District Court, Southern District of New York, in
Chicago Bridge & Iron Company N.V. Securities Litigation, 2019.

Deposition Testimony before the United States District Court, Middle District of
Florida, in Jacob J. Beckel v. Fagron Holdings USA, LLC et al., 2019.

Deposition Testimony before the United States District Court, Central District of
California, Southern Division, in Steven Rupp et al. v. Xavier Becerra et al., 2018.

Deposition Testimony before the Clark County District Court of Nevada in Round
Square Company Limited v. Las Vegas Sands, Inc., 2018.

Deposition Testimony before the United States District Court, Middle District of
Tennessee, in Nikki Bollinger Grae v. Corrections Corporation of America et al., 2018.

Deposition Testimony before the District Court for the State of Nevada in Dan Schmidt
v. Liberator Medical Holdings, Inc., et al., 2018.

Deposition Testimony before the United States District Court, Northern District of
Illinois, Eastern Division, in In re the Allstate Corporation Securities Litigation, 2018.

Testimony before the American Arbitration Association in Arctic Glacier U.S.A, Inc.
and Arctic Glacier U.S.A., Inc. Savings and Retirement Plan v. Principal Life Insurance
Company, 2018.

Deposition Testimony before the United States District Court, Southern District of New
York, in Marvin Pearlstein v. Blackberry Limited et al., 2018.

Deposition Testimony before the United States District Court, Eastern District of Texas,
in Alan Hall and James DePalma v. Rent-A-Center, Inc., Robert D. Davis, and Guy J.
Constant, 2018.

Deposition Testimony before the United States District Court, Southern District of
Iowa, in Mahaska Bottling Company, Inc., et al. v. PepsiCo, Inc. and Bottling Group,
LLC, 2018.

Testimony and Deposition Testimony before the United States District Court, District of
New Jersey, in Association of New Jersey Rifle & Pistol Clubs, Inc. et al. v. Gurbir
Grewal et al., 2018.
                                                                         Lucy P. Allen



Deposition Testimony before the Supreme Court of the State of New York in Bernstein
Liebhard, LLP v. Sentinel Insurance Company, Ltd., 2018.

Deposition Testimony before the United States District Court, Southern District of New
York, in Andrew Meyer v. Concordia International Corp., et al., 2018.

Deposition Testimony before the United States District Court, Southern District of
California, in Virginia Duncan, et al. v. Xavier Becerra, et al., 2018.
